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                                                                                            U.S. DISTRICT COURT
                                                                                                N.D. OF ALABAMA


                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ALABAMA,
                                  MIDDLE DIVISION

AMY WHITLOCK,                                    )
                                                 )
       Plaintiff,                                )
                                                 )
       v.                                        )       Case No. 4:14-cv-01192-VEH
                                                 )
NATIONWIDE RECOVERY SERVICES,                    )
INC.,                                            )
                                                 )
       Defendant.                                )

                                  NOTICE OF SETTLEMENT

       Plaintiff, AMY WHITLOCK (“Plaintiff”), through her attorneys, Walker McMullan,

Attorneys, informs this Honorable Court that the Parties have reached a settlement in this case.

Plaintiff anticipates dismissing this case, with prejudice, within 30 days.

                                      RESPECTFULLY SUBMITTED,

August 21, 2014                       By:_/s/M. Brandon Walker
                                             M. Brandon Walker
                                             Walker McMullan, Attorneys
                                             242 West Valley Avenue, Suite 312
                                             Birmingham, AL 35209
                                             Tel: 205-417-2541
                                             E-mail: brandon@walkermcmullan.com
                                             Attorney for Plaintiff


                                 CERTIFICATE OF SERVICE

       On August 21, 2014, I electronically filed the Notice of Settlement with the Clerk of the
U.S. District Court, using the CM/ECF system. I e-mailed a copy of the filed Notice of Settlement
to Defendant’s counsel, Wayne Morse, at morse@wskllc.com.

                                      By:_/s/M. Brandon Walker
                                             M. Brandon Walker




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